                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division

JOHN DOE,                                            )
                                                     )
         Plaintiff,                                  )
                                                     )            Case No. ___________
v.                                                   )
                                                     )
THE RECTOR AND VISITORS                              )
OF THE UNIVERSITY OF VIRGINIA,                       )
et al.                                               )
                                                     )
         Defendants.                                 )


                                                 ORDER

            In consideration of Plaintiff’s Motion and Memorandum for Leave to

     Proceed Under a Pseudonym and For a Protective Order, it is hereby ORDERED

     that Plaintiff’s motion to proceed under a pseudonym and for a protective order

     (Dkt. No. ___) is GRANTED. It is further hereby ORDERED that throughout the

     entirety of this case, the parties shall:

            •   Use only the pseudonym “John Doe” to refer to Plaintiff;

            •   Use only the pseudonym “Jane Roe” to refer to the woman who

                accused Plaintiff in the underlying disciplinary proceedings;

            •   Use only the descriptive terms “friend,” and “mother of friend,” to

                refer to the five fact witnesses who provided information in the

                underlying disciplinary proceedings;

            •   Redact or move to file under seal all documents and exhibits that use




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           the real names or other identifying information of Plaintiff, Jane Roe,

           and the fact witnesses.

       •   Submit unredacted versions of documents and exhibits to chambers.

       The clerk is directed to send copies of this order and the accompanying

 memorandum opinion to all counsel of record.



       Entered: __________                   ___________________________
                                             United States District Judge




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